Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 1 of 118 PageID #: 24083




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,                             C.A. No. 17-1734-RGA
                   v.
  CHARTER COMMUNICATIONS, INC., et al.,       PUBLIC VERSION
       Defendants.

  SPRINT COMMUNICATIONS COMPANY LP.,          C.A. No. 17-1736-RGA
       Plaintiff,
                   v.                         PUBLIC VERSION
  MEDIACOM COMMUNICATIONS CORP.,
       Defendants.
                                              C.A. No. 18-361-RGA
  SPRINT COMMUNICATIONS COMPANY LP.,
                                              PUBLIC VERSION
       Plaintiff,
                   v.
  WIDEOPENWEST, INC. et al.,
                                              C.A. No. 18-362-RGA
       Defendants.
                                              PUBLIC VERSION
  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,
                   v.
                                              C.A. No. 18-363-RGA
  ATLANTIC BROADBAND FINANCE, LLC et al.,
       Defendants.                            PUBLIC VERSION

  SPRINT COMMUNICATIONS COMPANY LP.,
         Plaintiff,
                     v.
  GRANDE COMMUNICATIONS NETWORKS,
  LLC et al.,
         Defendants.


  EXHIBITS 26-48 TO THE DECLARATION OF KELLY E. FARNAN IN SUPPORT OF
   CHARTER’S AND DEFENDANTS’ OPPOSITION TO SPRINT’S MOTIONS FOR
   SUMMARY JUDGMENT AND MOTIONS TO EXCLUDE EXPERT TESTIMONY
                            UNDER DAUBERT




                                       1
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 2 of 118 PageID #: 24084




                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2020, true and correct copies of the foregoing document

 were caused to be served on the following counsel of record as indicated:

          BY ELECTRONIC MAIL                      BY ELECTRONIC MAIL
          Stephen J. Kraftschik                   Robert H. Reckers
          Christina B. Vavala                     Michael W. Gray
          Polsinelli PC                           Shook, Hardy & Bacon LLP
          222 Delaware Avenue, Suite 1101         JPMorgan Chase Tower
          Wilmington, DE 19801                    600 Travis Street, Suite 3400
                                                  Houston, TX 77002
          BY ELECTRONIC MAIL
          B. Trent Webb
          Aaron E. Hankel
          Ryan J Schletzbaum
          Ryan D. Dykal
          Jordan T. Bergsten
          Lauren E. Douville
          Mark D. Schafer
          Samuel J. LaRoque
          Maxwell C. McGraw
          Thomas M. Patton
          Lydia C. Raw
          Shook, Hardy & Bacon LLP
          2555 Grand Boulevard
          Kansas City, MO 64108


                                                            /s/ Kelly E. Farnan
                                                            Kelly E. Farnan (#4395)
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 3 of 118 PageID #: 24085




            (;+,%,7S-28

        REDACTED IN
       THEIR ENTIRETY
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 4 of 118 PageID #: 24086




                   (;+,%,7
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 1 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 5 of 118 PageID #: 24087




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 SPRINT COMMUNICATIONS CO., L.P.           )
                                           )                CONSOLIDATED CASES
                         Plaintiff,        )
                                           )                Case No. 11-2684-JWL
 v.                                        )
 COMCAST CABLE COMMUNICATIONS, LLC, )
 et al.,                                   )
                         Defendants.       )
 _________________________________________ )
                                           )
 SPRINT COMMUNICATIONS CO., L.P.           )
                                           )
                         Plaintiff,        )
                                           )                Case No. 11-2685-JWL
 v.                                        )
 CABLE ONE, INC.,                          )
                                           )
                         Defendant.        )
 _________________________________________ )
                                           )
 SPRINT COMMUNICATIONS CO., L.P.,          )
                                           )
                         Plaintiff,        )
                                           )                Case No. 11-2686-JWL
 v.                                        )
                                           )
 TIME WARNER CABLE, INC., et al.,          )
                                           )
                         Defendants.       )


                     DECLARATION OF LEONARD J. FORYS, PH.D.

    I, Leonard J. Forys, declare as follows:

                             I.   My Professional Background

        1.     The patents I reviewed (referred to below as Group 1 and 2) are in the general

 areas of telephone networks and packet network technologies with specific focus on signaling

 between them and the transport of voice over a virtual circuit packet-based network, ATM in
     Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 25 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 6 of 118 PageID #: 24088




 virtual circuit approach. As with the PSTN, for two end users to transmit data to each other, the

 network must first establish an end-to-end path on a switch-by-switch and call-by-call basis

 using a virtual circuit between them, as opposed to the actual circuits used by the PSTN. The

 end-to-end path consisting of virtual circuits is similar to the end-to-end actual path consisting of

 actual circuits established by the PSTN in that: (1) no user communication can take place until

 such an end-to-end path of virtual circuits is established, (2) all user communication between

 these two end users will use this path specified by the end-to-end path of virtual circuits and no

 other path for the duration of the call, and (3) nobody else can use the virtual circuits in the path

 for the duration of its existence. The difference is that, unlike the actual circuits used by the

 PSTN, a virtual circuit, as explained below, does not tie up transmission capacity when not in

 use.22 In this way, a virtual circuit avoids the inefficiency of transmitting bursty data over an

 actual circuit, because in between the data bursts the virtual circuit, unlike an actual circuit, need

 not tie up transmission capacity of the transmission medium.23

        54.     First I will explain what a virtual circuit is. As in the PSTN, the network must

 first send appropriate signaling to each switch prior to transmitting the data so that each switch

 knows how to transmit the data it receives to the next switch on the path leading to the ultimate

 destination. A popular form of virtual circuit technology developed in the late 1980s was

 Asynchronous Transfer Mode (ATM). The embodiments in the asserted patents deal exclusively

 with this form of data transport. In ATM, a particular virtual circuit is specified by a pair of



 22
    Goralski, supra, at 32, Ex. 5 (In ATM “[a]ll traffic is sent based on demand; no traffic, no
 bandwidth drain.”)
 23
    In this way, virtual circuits are similar to my alternative postal system. Nobody else can use
 the sender’s logical path in my example. Although when he is not sending letters to his mother
 this logical path is idle, he is not in fact tying up any space in the mail trucks or occupying the
 time of any mailpersons. He is merely occupying record-keeping space at each post office
 needed to maintain the path information.
                                                   25
     Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 26 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 7 of 118 PageID #: 24089




 numbers, a virtual path identifier (VPI) and a virtual circuit identifier (VCI), which identify

 respectively, a Virtual Path (VP) and a Virtual Connection (VC), as shown below:




 Each VPI/VCI pairing is not a specific time slot as in the PSTN; instead it is merely a label used

 by the switches to define a logical or virtual circuit. Each virtual path (VP) is identified by a VPI

 and contains numerous virtual circuits identified by VCIs.24 One physical transmission path (i.e.

 a wire) could be assigned to multiple VPIs and VCIs as illustrated above.25 As part of the call

 setup process, each switch along the path from the origination to the destination will receive

 signaling that will enable each switch to update its switching table so it will know that any data

 arriving on, for example, VPI # 1 / VCI #5 will be sent out on VPI # 2 / VCI #3 and so forth

 throughout all of the remaining switches until the destination is reached.26 If every switch in the

 path has the appropriate entries in their switching tables, the path will be fully set up to permit

 transmission of data. This is just like the alternative post office example.

        55.     Prior to transmitting data, it must be broken up into individual packets or cells

 that each include the VPI and VCI pair so that the switch knows what virtual circuit should be

 used for that particular cell. As the data is being transmitted, at each switch the switching

 24
    Davidson, Robert P., Broadband Networking ABCs for Managers: ATM, BISDN, Cell/Frame
 Relay to SONET 90 (1994), Exhibit 6 (“Virtual channels are grouped together to form a virtual
 path.”)
 25
    Id. (“Many virtual channels may share a single physical link at the same time. For example,
 all the virtual channel belonging to a customer may be bundled within a single virtual path,
 simplifying network management.”)
 26
    The switching table is a control logic for the switch that specifies what outgoing virtual circuit
 is used to connect to an incoming virtual circuit.
                                                  26
     Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 27 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 8 of 118 PageID #: 24090




 mechanism may modify the VPI and VCI pair of the cell if the cell is to be switched onto a

 different outgoing VPI / VCI.

        56.     Unlike the PSTN, the circuit is virtual, meaning it need not have sole possession

 of a specific wire or time slot on a wire. At any moment in time when no data is being sent using

 a virtual circuit, no transmission capacity is used by the network for that virtual circuit and other

 virtual circuits can use that capacity instead. If instead actual circuits were used to transmit data,

 once the circuit was established, that transmission capacity could not be used for any other

 purpose — even during periods where no data was being transmitted over that circuit.

        57.     As indicated earlier, ATM was developed in the late 1980s to facilitate a more

 efficient transmission of data while retaining the ability to efficiently handle voice traffic. ATM

 provided a virtual circuit approach designed to work with a network known as the Broadband

 Integrated Services Digital Network (B-ISDN).27 ATM uses fixed size transmission units

 referred to as cells. A cell consists of 53 bytes28 divided into a 5-byte header and a 48-byte

 payload for the data to be transmitted.29 One byte constitutes the Virtual Path identifier (VPI), 2

 more bytes are used for the Virtual Connection Identifier (VCI) and the remaining bytes of the

 header are used for other purposes.30 When a switch receives an ATM cell, it forwards the cell




 27
    Davidson, supra, at 86-87, Ex. 6 (ATM “was designed as a telecommunications technology,
 specifically as the transport for Broadband ISDN (BISDN). . . . [ATM] transports continuous
 bit-rate traffic such as voice and video as well as noncontinuous traffic such as the bursty data
 frequently encountered with LANs.”)
 28
    A “byte” is a unit of digital information consisting of eight “bits.” A “bit” is a unit of
 information that can have one of two values (commonly represented as a “1” or a “0”).
 29
    Davidson, supra, at 87, Ex. 6 (“All ATM switching uses standard 53-byte cells. Each ATM
 cell has a five-byte header that contains virtual circuit and virtual path identifiers.”)
 30
    Id. at 88 (“Virtual channel identifier (VCI)—the VCI (16 bits) [2 bytes] . . . defines a local
 logical connection between two ATM nodes. Virtual path identifier (VPI)—the VPI (eight bits)
 [2 bytes] is an aggregate of VCIs.”)
                                                  27
     Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 30 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 9 of 118 PageID #: 24091




 from the sender and receiver are handled independently from each other32. Because there is no

 actual or virtual circuit, a packet cannot be sent merely by including an identifier of the path

 (there is no pre-arranged path). Instead, all packets must contain the address of the intended

 destination much like the real postal system which relies on explicit and unique addresses on

 each envelope. No signaling of any sort is needed on a call-by-call basis to communicate with

 each of the routers that may be used to route a packet from its origination to its destination. The

 routers are pre-programmed33 so that they know how to send packets towards their ultimate

 destination by reading the packet’s address. To receive service from the network the user simply

 hands to the network packets that contain in their header the destinations to which they are to be

 delivered. (This is analogous to dropping a letter in the mailbox.) No end-to-end path of any

 sort gets established within the network. The best example of a data network that offers routing

 based on the explicitly addressed packets instead of establishing paths for each call is the

 Internet. Addressing and packet formats are defined in the Internet Protocol (IP) specification,

 originally designed by Cerf and Kahn in the mid seventies. The US Defense Advanced Projects

 Agency (DARPA) primarily supported early work on the Internet and in fact experiments in the

 1970s demonstrated the feasibility of transporting voice using normal telephones with this type

 of protocol.

        63.     People have recognized since the inception of datagram based networks that they

 can also be used to transmit voice by including digitized voice in the packets as the transmitted

 32
    This can result in packets being received out of order at the destination. Special reassembly
 logic is needed to reorder the received packets.
 33
    Routers typically obtain network configuration and construct routing tables by themselves in a
 distributed fashion using a variety of techniques, but they are not constructed on a call-by-call
 basis and do not process call signaling. For example, a new element in a particular portion of the
 network would flood the network indicating its availability. Also, elements in the network
 periodically flood the network with availability updates. All routers would update their routing
 tables based on the various links that the availability packets arrived on.
                                                  30
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 31 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 10 of 118 PageID #: 24092




  data from the sender to the receiver, although in the mid 90s ATM was the almost universal

  choice. (See supra, footnote at the end of paragraph 52.)

                             IV.    The Patents

  A.     Group 1 Patents

         1.      Group 1 Patents are Directed to Networks that Establish Complete
                 End-to-End Paths on a Call-by-Call Basis.

         64.     As discussed in paragraphs 58 to 60 above, the patents assert that switches in

  networks that establish end-to-end paths which are responsible both for controlling the

  establishment of the end to-to-end path and for carrying voice traffic through the switches after

  the end-to end path is established.

         65.     The Group 1 Patents express views regarding the operation of the existing circuit

  switch based PSTN technologies and virtual circuit switched based ATM technologies at the

  time of the alleged invention. As explained in the preceding sections, circuit and virtual circuit

  based networks require setting up the circuits (or virtual circuits) between each of the network

  elements prior to transmitting user communication over the end-to-end path that is established

  during the set-up phase. According to the patents, both types of networks (PSTN and virtual

  circuit-based) use switch-based signaling on a call-by-call and switch-by-switch basis to set up

  an end-to-end path prior to transmitting any voice or data.

         66.     The Group 1 Patents define express views regarding the operation of this

  “communications path” as “the combination of connections and network elements that physically

  transfers the information between points.” (’3,561 Pat. 5:16-18; see also id. at 1:32-34.) The

  term “connection,” according to the Group 1 Patents, refers to “the media between two network

  elements that allows the transfer of information.” (Id. at 4:64-65.) A connection can

  “correspond to . . . a DS0 circuit” in the PSTN or “a virtual channel in an ATM system.” (Id. at

                                                  31
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 32 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 11 of 118 PageID #: 24093




  5:3-8.) “Switches provide the primary means where different connections are associated to form

  the communications path.” (Id. at 1:35-36.) The Group 1 Patents acknowledge that this process

  of setting up an end-to-end path “is well known in the art.” (Id. at 2:1.) The end-to-end path to

  which the Group 1 Patents are referring is a unique path defined during call set-up over which

  the voice for that call will travel exclusively.

          67.     The Group 1 Patents refer to the process of setting up the communication path as

  “communication control” and explain that it involves “the selection of network elements such as

  switches or other devices which will form part of the communications path” as well as “the

  selection of the connections between the network elements.” (Id. at 1:37-43.) This necessarily

  occurs on a call-by-call basis based on the signaling for the call and the status of the network.

  According to the patents it is the switches that “control these selections” and often they are

  “selecting the next switch that will make further selections” to further extend the path towards

  the ultimate destination. (Id. at 1:49-55.) The switches use “signaling” to assist in establishing

  the path through each intervening switch: “The first switch will typically process [the signaling

  tones from the dialed number] and will select other network elements such as a second switch.

  The first switch signals the second switch and establishes a connection between the switches.

  The second switch then selects the next network element, signals that network element, and

  establishes a connection to that network element. This process is well known in the art. The

  connections and signaling thus proceed from switch to switch through the network until a

  communications path is established between the first and second points.” (Id. at 1:62-2:4.)34




  34
    Thus the Group 1 Patents distinguish between “signaling,” which is used to set up an end-to-
  end path, and the actual user communications which will traverse this path once it is fully
  established
                                                     32
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 35 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 12 of 118 PageID #: 24094




  another telephone number. This is done by querying a remote database (a Service Control Point

  or SCP).35 (Id. at 12:32-35.) Without access to such “800 platforms” accessible only through

  narrowband switches, broadband switches could not control the translation of a “1-800” number

  into the actual telephone number that must be used by the switches to establish the end-to-end

  path.

          73.    Billing. Similarly, the Group 1 Patents claim that broadband switches cannot

  perform the billing function for a call or determine how to loop in a narrowband switch during

  establishment of the end-to-end path to perform that task. (Id. at 2:63-3:4.) In 1994, many calls

  were billed based on the duration of the call and the distance between the parties but allegedly

  since broadband switches could neither perform this task themselves nor determine a path that

  included a narrowband switch that could perform this task, this presented yet another obstacle

  according to the Group 1 Patents to developing a full service telephone system that married

  broadband and narrowband capabilities. (Id. at 21:11-28.)

          74.    Call routing. Lastly, ATM switches allegedly could not perform even the basic

  call routing task required to connect a broadband switch to a narrowband switch for “800”

  number processing, billing or establishing an end-to-end path for a call originating and/or

  terminating in the (narrowband) PSTN on a call-by-call basis. (Id. at 2:63-3:4.) In other words,

  according to the Group 1 Patents, broadband switches lacked the ability to route any particular

  call, on a call-by-call basis, to a narrowband switch if necessary for any reason. This rendered

  the interface between broadband and narrowband “a rigid access pipe” that could not be adjusted

  on a call-by-call basis. This might work for a telecommunications network that was relatively

  predictable like the famous “red telephone” hotline between Washington and Moscow or a link

  35
    Although SCP’s are “network elements” according to the Group 1 Patents (’3,561 Pat. 458-
  60), they are not part of the communication path established for the user communication.
                                                  35
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 36 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 13 of 118 PageID #: 24095




  between various remote offices of a corporation so that all calls using a four-digit extension

  would reach any other phone in the company, even those in distant cities. It allegedly would not

  work for a full service telephone network that needed to route calls dynamically all over the

  country at any given moment.

         5.      Simply Combining PSTN and Broadband (ATM) Networks Does not
                 Overcome the Limitations of Broadband Networks.

         75.     Combining broadband (ATM) and narrowband networks potentially yields some

  of the advantages of both networks, such as giving narrowband networks access to broadband

  speeds, but according to the Group 1 Patents this still does not overcome the problem that

  broadband (ATM) switches do not include the features needed for voice. Even if the broadband

  and narrowband networks are connected, “[a]t present, the ability of these switches to signal each

  other is limited,” creating “a major obstacle in any attempt to interface the two networks” as

  required to make use of narrowband switch features such as “800” platforms and billing. (’3,561

  Pat., 3:12-18.) What is needed, according to the Group 1 Patents, is an “intelligent interface”

  between the narrowband and broadband switches. (Id. at 3:10-20.)

         76.     In other words, according to the Group 1 Patents, the broadband (ATM) and

  narrowband switches lack the “intelligence” needed to decide when and how they should

  signal each other, so that a narrowband switch could include a broadband switch—or a

  broadband switch could include a narrowband switch—in the end-to-end path being set up for a

  particular call. Because of this limitation, the Group 1 Patents explain, broadband (ATM)

  switches cannot loop in narrowband switches to overcome the shortcomings of broadband

  (ATM) switches, including broadband’s inability to translate “800” numbers and perform normal

  billing functions on a call-by-call basis. Likewise, narrowband switches cannot decide on a call-




                                                  36
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 37 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 14 of 118 PageID #: 24096




  by-call basis to include broadband (ATM) switches in a caller’s path to overcome the speed

  limitations of narrowband switches.

         77.     The central reason, according to the Group 1 Patents, that this limitation cannot be

  overcome is because, like narrowband switches, broadband (ATM) switches are burdened with

  the dual tasks of establishing the end-to-end path and actually carrying the user traffic over the

  path once it has been established. “The performance of both of these tasks by switches places

  limitations on a telecommunications network.” (Id. at 2:56-58.) “The reliance on switches to

  both perform communication control and to form the a [sic] part of the communication path

  results in impediments to developing improved networks. . . . At present, there is a need for a

  portion of the communication control processing to be independent of the switches that form a

  part of the communications path.” (Id. at 3:21-31.)

         6.      The Alleged Solution is to Create a Communication Control Processor
                 (CCP).

         78.     The Group 1 Patents claim that the solution to integrating narrowband and

  broadband (ATM) switches into a single functional network that can perform all of the tasks of

  the traditional telephone network, including “800” number calling, billing and basic call routing

  can be solved by creating an allegedly new and “independent” entity that handles

  “communication control processing.” (’3,561 Pat 3:28-31.)

         79.     The Group 1 Patents attempt to describe such an entity: “[i]n FIG. 1,

  Telecommunications System 110 comprises a communication control processor (CCP) 120 . . . .”

  (Id. at 5:29-30.) “Communication control,” the group 1 patents explain, “is the process of setting

  up a communications path between the points” and includes “the selection of network elements




                                                   37
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 38 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 15 of 118 PageID #: 24097




  such as switches or other devices which will form part of the communications path.”36 (Id. at

  1:37-38.) “Communication control also comprises the selection of the connections between the

  network elements.” (Id. at 1:41-43.) Thus the CCP controls the overall setting up of the end-to-

  end communications path by processing the incoming signaling, selecting one or more switches,

  other network elements or connections and communicating that decision to the broadband

  switches. The CCP has an overview of the network from a position outside any path it will set

  up for a call. It determines when broadband (ATM) switches and virtual circuits should be in the

  paths and when TDM circuits and switches (narrowband) should be in the paths. This is how i

  “controls” establishment of the paths on a call-y-call basis. What and how many things in the

  network it must select vary on a call-by-call basis.37 Every embodiment in the specification (see

  Figures 1-3) uses the same CCP which controls establishment of an end-to-end path with TDM

  and virtual circuits depending on what is needed given the particular network that it controls and

  the specific call being placed (’3,561, 21:11-67.)

         80.     The CCP is in fact the only thing which the Group 1 Patents purportedly add to

  the prior art, and is what I understand the specification asserts claim to be the invention. The

  Group 1 Patents admit the rest of the components, such as the switches, muxes and STPs, were

  already known. (Id. at 10:7-17.) Even though the Group 1 Patents attempt to describe their

  solution to the stated problem as the creation of a CCP, the only explanation they provide as to



  36
     “A communications path is the combination of connections and network elements that
  physically transfers the information between points.” (’3,561 Pat. 5:16-18.)
  37
     Because the CCP controls the establishment of the end-to-end path, even in the simplest
  scenario it must still select at least one network characteristic and always has the ability to signal
  other network elements: “The CCP might select all of the connections, a portion of the
  connections, or none of the connections, again leaving the elements to select the remainder. The
  CCP may select combinations of the above options, but the CCP will always select at least one
  network characteristic.” (Id. at 24-29; 14:7-9 (“the CCP receives signaling and has the ability
  to signal other network elements.”)
                                                    38
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 39 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 16 of 118 PageID #: 24098




  what constitutes a CCP is a general purpose computer that has appropriate software.38 The

  Group 1 Patents state that “[o]ne example of a CCP device” the only example these patents

  provide—“would be a Tandem CLX machine configured in accord with this disclosure of the

  present invention.” (Id. at 13:50-52.) A Tandem CLX is simply a general purpose computer that

  could not serve as a CCP without any special programming.39 The Group 1 Patents, however, do

  not provide any software or even algorithms that could be used to program a general purpose

  computer to perform the various functions the patents attribute to a CCP. For example, Figures

  4-8 of the Group 1 Patents purports to depict the workings of a CCP, yet none of these figures or

  the associated disclosure in the specification ever disclose how the many functions performed by

  the CCP are implemented. Furthermore, I note that the CCP, and the Group 1 Patents, are only

  directed to setting up the end-to-end path for user communications, not the actual sending of

  those communications once such a path is established.

         7.      The Group 1 Patents Describe the CCP’s Operation Through an
                 Example Based on ’3,561 Pat. Figure 3

         81.     The Group 1 patent specification never really describes what a CCP is other than

  to state “[o]ne example of a CCP device would be a Tandem CLX machine configured in accord

  with this disclosure of the present invention.” (’3,561 Pat. 13:50-52.) A Tandem CLX is simply

  a highly reliable general purpose computer. “[C]onfigured in accord with this disclosure” means

  that software, which the patent does not disclose even in the form of algorithms, is created and

  38
     In fact, every figure in the Group 1 Patents relates to various embodiments for using this CCP
  and every reference to use of “signaling messages” is always in the context of establishing a
  single communication path for the entire call. Figures 1-3 each include a CCP that controls the
  establishment of an end-to-end communication path through the network on a call-by-call and
  switch-by-switch basis. Furthermore, in each case the CCP is not itself part of the path for the
  call.
  39
     Tandem Computers, NonStop CLX System Management Manual 2-1 (1987), Exhibit 7 (“The
  NonStop CLX is a compact minicomputer system designed to operate in a typical office
  environment.”)
                                                  39
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 40 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 17 of 118 PageID #: 24099




  loaded onto the computer to turn it into a CCP.40 Figure 8 proves the only disclosure of any

  details regarding the CCP’s processing. (’3,561 18:52-20:14.) The specification states that the

  CCP contains tables used to make selections but never discloses the tables. The specification

  states only that “[t]hose skilled in the art will recognize the numerous factors that can be used to

  design and load the tables” contained in the CCP. (’3,561 19:32-33.)

         82.     The Group 1 Patents specification, however, do provide some discussion of what

  a CCP is capable of doing, even if it does not disclose how it can perform these tasks.

         83.     Figure 3 of the Group 1 Patents shows a “Telecommunications Network,” which I

  have surrounded with a red line, below.41 Figure 3 is the only embodiment where the CCP is

  used to provide egress from the network. This network represents a long distance, or

  interexchange carrier (IXC), network. Switches 360, 362, 364, and 366 within this network are

  broadband (ATM) switches. (Id. at 10:7-11.) The CCP 350 is highlighted in orange. Switches

  325 and 335 are local telephone company (referred to as local exchange carrier or LEC)

  switches, situated outside the long distance network. They use TDM circuit switching

  technology, as in the PSTN. (Id. at 10:59-61.) Switches 370 and 375 are also circuit switches,

  40
     For example, although figures 5-7 purport to depict flow diagrams of the alleged invention,
  elements 515, 615 and 710 are each labeled “process,” however the Group 1 Patent does not
  disclose any such process. See, e.g., ’3,561 Pat. 15:26-39: (“The CCP processes the information
  it [sic] has received in box 515. Processing also entails the use of programmed instructions in the
  CCP, and might even include the use of information retrieved from a remote database, such as an
  SCP. The selections are then made as shown in box 520. These selections specify network
  characteristics, such as network elements and/or connections. As stated above, The CCP may
  only select a portion of the network characteristics and allow the points or the switches to select
  the remainder. It should be pointed out that the information used in processing is not limited to
  that which is listed, and those skilled in the art will recognize other useful information which
  may be sent to the CCP.”)
  41
     I have added coloring and comments to explain Figure 3 from the Group 1 Patents in several
  figures included in the text of this declaration over the next few pages. In addition, an animation
  (Group 1 Patents) has been prepared based on my declaration which further illustrates the points
  made in this section. I understand that this animation will be submitted along with my
  declaration.
                                                   40
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 41 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 18 of 118 PageID #: 24100




  though they are located within thhe long distance network. (Id. at 10:7-11.) The “STP” devices

  shown both inside and outside thhe long distance network are “signal transfer poin
                                                                                   nts,” which are

  used to send signaling. (See id. aat 2:16-24.) SCP 355 (or service control point) is
                                                                                    i a database,

  which contains information that iis used to establish an end-to-end path in a telep
                                                                                    phone network.

  (Id. at 2:10-15.)




          84.     Using Figure 3, I will provide an overview of how a call is made, and how the

  end-to-end communication path iis established, as described in the specification of
                                                                                   o the Group 1

  Patents. (I have provided a DVD
                                D that contains an animation which similarly illustr ates the

  example of Figure 3 of the Groupp 1 Patents.) First, a calling party 320 dials a ph
                                                                                    hone number of a

  called party 330 (which could bee a toll-free “800” number, or a number requiring
                                                                                  g billing by the

  interexchange carrier). In the sam
                                   me manner as I described above with respect to the PSTN, the

  calling party 320 is connected to his or her local telephone (LEC) switch 325 viaa a local loop.



                                                  41
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 42 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 19 of 118 PageID #: 24101




  The LEC switch 32542 receives the signaling for the call (in the form of the dialed telephone

  digits), selects a DS0 trunk to the long distance network and sends SS7 signaling for the call to

  STP 328 so that the path of the call can be extended. From STP 328, the signaling travels into

  the long distance network to STP 340, then STP 345, and finally to the CCP. (Id. at 11:18-24,

  37-41.) Below I have illustrated the path of the signaling with green arrows and the intended

  path for the call as a pink tube. As can be seen from each successive depiction of Figure 3 in the

  next few pages of my declaration, one can see how the CCP exercises its control over the

  extension of the path--made up of both virtual circuits (VC) and TDM circuits (DS0). The

  specification does not explain43 why the signaling travels to STP 345 first, rather than traveling

  directly from STP 340 to the CCP. Instead of leading to another circuit switch, in accordance

  with my description of the PSTN, the DS0 selected by switch 325 is connected to mux 380. The

  mux maps and converts the incoming DS0 (circuits used by the narrowband switch) into an

  outgoing virtual channel (VC) which is a virtual circuit that will be understood by ATM switch

  360. (Id. at 11:33-36.) In other words, it translates the call between two communication

  technologies. As there is no signaling shown going to mux 380 in Figure 3, I understand that

  there is a fixed 1-1 mapping between any particular incoming DS0 and its corresponding

  outgoing virtual channel. (See id. at 10:28-34.)




  42
     A LEC switch is a narrowband switch used by a local exchange carrier (i.e. local telephone
  company).
  43
     The specification indicates that SCP 355 which is connected to STP 345, may be used by the
  CCP to gather routing information, but it is not necessary that the CCP be first connected to STP
  345 in order to be able to do so. The CCP could just as well as have sent a query to SCP 355 via
  STP 340.
                                                     42
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 43 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 20 of 118 PageID #: 24102




         85.     Once the CCP recceives the call signaling, it will determine what must
                                                                                   m be done to

  establish the end-to-end path for the call. One determination the CCP makes is whether
                                                                                 w       the call

  will need services provided by naarrowband circuit switches, such as 800-numberr translation or

  billing services. (Id. at 11:45-47, 54-55.) If a narrowband circuit switch is needed in the end-to-

  end path for the call, the CCP wiill select which one will be used. (Id. at 11:45-4
                                                                                    47.) The CCP

  may consult the SCP database in making these determinations. (Id. at 11:39-42.)) Continuing the

  example of Figure 3, the CCP sellects narrowband circuit switch 370 (highlighted
                                                                                 d below in blue)

  to be included in the end-to-end-path for the call.




                                                   43
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 44 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 21 of 118 PageID #: 24103




          86.     Once the CCP hass determined which circuit switch (if any) within
                                                                                  n the long

  distance network will be used, it signals broadband (ATM) switch 360 (as indicaated with the

  green line below) with the identitty of the selected circuit switch 370 as well as th
                                                                                      he specific port

  on switch 370 to be used. (Id. att 12:5-17.) The nature of the signaling is not disclosed. The

  only thing that the patent mentionns is that it is “new signaling” (id. at 6:17-21), without
                                                                                       w

  specifying the protocol, the messsage sent or any details. The patent does not discclose how the

  broadband (ATM) switches are too implement these signals, simply that they do so.
                                                                                s According to

  the Group 1 Patents, the CCP is ccapable of selecting every switch and every conn
                                                                                  nection to be

  used to extend the path of the calll to switch 370, but it need not do so in every caase. (Id. at

  11:61-12:4; 7:25-28.)




                                                    44
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 45 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 22 of 118 PageID #: 24104




  In the example of Figure 3, the C
                                  CCP “allows” the broadband (ATM) switches to extend the path

  to switch 370 on their own withoout specifying how the signaling is done to allow
                                                                                  w this to happen.

  (Id. at 11:64-67.)




                                                  45
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 46 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 23 of 118 PageID #: 24105




         87.     The ATM switches extend the call path to switch 370 through ATM switches 360

  and 364 and mux 382 as shown above. The ATM switches signal each other independently of

  the CCP to further the path. (Id. at 12:20-26.) In the reverse process of what I described with

  respect to mux 380, mux 382 converts the virtual circuit understood by the ATM network into a

  DS0 understood by circuit switch 370. (Id. at 12:26-28.) At the same time, as shown below, the

  CCP signals circuit switch 370 (via STP 345) to inform it that the path for the call will be

  extended to it and on which port the call will arrive. (Id. at 12:28-29.)




         88.     Now that the end-to-end path formation has reached circuit switch 370, that

  switch can do billing for the call and may perform 800-number translation if needed by querying

  SCP 355. (Id. at 12:30-35.) Switch 370 will then make its own decision on how to further the

  path for the call, as in the PSTN, but that decision will always involve sending the call back to

  mux 382 and broadband (ATM) switch 364 in this example as shown below. (Id. at 12:35-40.)



                                                   46
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 47 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 24 of 118 PageID #: 24106




  Indeed, there is no other path leading from switch 370 in Figure 3; from the persp
                                                                                   pective of switch

  370, however, it is furthering thee call to another circuit switch. Switch 370 also sends signaling

  to be used by other circuit switchhes (as I described with respect to the PSTN, abo
                                                                                    ove), but, again,

  that signaling is intercepted by thhe CCP as shown below. (Id. at 12:35-38.) The CCP will then

  decide how to further the path off the call on the return trip back through mux 382
                                                                                    2 and onto the

  next switch. As before, the CCP
                                P may use information from the SCP or other sou
                                                                              urces to make

  such decisions. (Id. at 12:40-46.))




         89.     The CCP now seleects the local (LEC) switch to which the call patth should be

                                 witch 335 (on the lower right), which serves the called party, is
  extended. This local exchange sw

  where the call will go once it “eggresses” from the long distance network. 44 The CCP
                                                                                    C selects and




  44
    Because, as I explained previoously, the user communications can only traversee over an
  established end-to-end path in a ccircuit or virtual circuit network such as in the Group
                                                                                      G     1 Patents,
                                                   47
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 48 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 25 of 118 PageID #: 24107




  sends a “destination code” to broadband (ATM) switch 364, which identifies broadband (ATM)

  switch 366 as the network element which allows egress from the network. By identifying either

  of the network elements which are connected to the LEC switch, the CCP also identifies LEC

  switch 335 and selects the port on switch 335 to which the path should be extended. (Id. at

  12:47-60, 18:21-24.)45 Alternatively, the CCP can select as the destination code the network

  code of the LEC switch itself. (’3,561, 18:15-25.) Either way, the CCP is selecting a logical

  address of a switch to permit egress from the long distance exchange to the local exchange. In

  other words, either the CCP is selecting the “terminating switch” in the long distance carrier

  which corresponds (on a one-to-one basis) with the external LEC switch or it selects the “LEC

  switch [itself] to which the communication path should be extended.” (Id.) Egress from a long

  distance (IXC) network to a LEC switch is the only example of identifying a code for egressing

  from a network that is disclosed in the Group 1 Patents.




  the user communications can only egress the long distance network depicted in Figure 3 over a
  device that is in the established communication path.
  45
     The Group 1 Patents explain that a “destination code” is a form of a “network code.” (’3,561
  Pat. 12:47-53.) The CCP selects this to establish an end-to-end path exiting from the long
  distance carrier which will be used to carry user communications after the entire path is
  established.
                                                  48
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 49 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 26 of 118 PageID #: 24108




         90.     The CCP then signals LEC switch 335 so that it knows the particular DS0 it is

  going to receive will correspond to this particular call. (‘3,561, 12:65-13:2.) In this way, the

  end-to-end path is established between calling party 320 (connected to local switch 325) and

  called party 330 (connected to local switch 335), as illustrated below. As explained, the path

  was established by the CCP specifically in response to caller 320 trying to make a call. After the

  path is established, as in the PSTN, the parties can speak to each other, although the Group 1

  patent does not discuss user communication after the path is established because it is focused

  entirely on setting up the end-to-end path. The inclusion of circuit switch 370 in the end-to-end

  path of the call permits the network to time the duration of the call for billing purposes by using

  the narrowband’s billing capability which the Group 1 Patents explain the broadband switches

  lack. Presumably the patent is talking only about billing for the “long distance” portion of the




                                                   49
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 50 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 27 of 118 PageID #: 24109




  call as a billing record would routinely be kept in narrowband switch 325, although the patent is

  unclear about this point.




       B. Group 2 Patents

          91.    The Group 2 Patents are directed to another way of including virtual circuits and

  TDM circuits in the end-to-end path established on a call-by-call basis. (See, e.g., ’429 Pat.

  Abstract (“The invention is a system for providing virtual connections through an ATM

  interworking multiplexer on a call-by-call basis.”)). The Group 2 Patents state that ATM

  switches46 which are capable of participating in the establishment of an end-to-end path for

  telephone calls would need to be very sophisticated, and this level of sophistication was not yet

  mature and would be expensive. (See id. at 1:50-60.) The patents propose an alternative,

  presumably less complex and less costly way of including virtual circuits and TDM circuits in

  46
    The Group 2 Patents focus exclusively on one type of broadband switch—ATM. See, e.g.
  ’429 Pat. 1:20-2:67.
                                                  50
      Case 2:11-cv-02684-JWL-JPO Document 220 Filed 04/05/14 Page 57 of 57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 28 of 118 PageID #: 24110




         105.    I have been asked if the term “routing system” has a known meaning in the

  telecommunications field. This term has no particular meaning without a specified context. The

  claim does not supply any context because, if anything, the “routing system” corresponds to an

  ATM Cross-Connect System.

         106.    The Northern Telecom DMS-250 referenced in the Group 1 Patents (’3,561 Pat.

  10:16) was a well-known circuit element at the time of the patents’ filing date.




     I declare under penalty of perjury that the foregoing is true and correct.

     Dated: April 4, 2014
            Holmdel, New Jersey




                                        ________________________

                                        Leonard J. Forys, Ph.D.




                                                  57
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 29 of 118 PageID #: 24111




                   (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 30 of 118 PageID #: 24112
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 31 of 118 PageID #: 24113
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 32 of 118 PageID #: 24114
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 33 of 118 PageID #: 24115
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 34 of 118 PageID #: 24116




                   (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 35 of 118 PageID #: 24117
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 36 of 118 PageID #: 24118
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 37 of 118 PageID #: 24119
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 38 of 118 PageID #: 24120
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 39 of 118 PageID #: 24121
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 40 of 118 PageID #: 24122
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 41 of 118 PageID #: 24123
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 42 of 118 PageID #: 24124
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 43 of 118 PageID #: 24125
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 44 of 118 PageID #: 24126
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 45 of 118 PageID #: 24127
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 46 of 118 PageID #: 24128
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 47 of 118 PageID #: 24129
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 48 of 118 PageID #: 24130
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 49 of 118 PageID #: 24131
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 50 of 118 PageID #: 24132
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 51 of 118 PageID #: 24133
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 52 of 118 PageID #: 24134
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 53 of 118 PageID #: 24135
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 54 of 118 PageID #: 24136
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 55 of 118 PageID #: 24137
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 56 of 118 PageID #: 24138
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 57 of 118 PageID #: 24139
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 58 of 118 PageID #: 24140
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 59 of 118 PageID #: 24141
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 60 of 118 PageID #: 24142




                   (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 61 of 118 PageID #: 24143
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 62 of 118 PageID #: 24144
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 63 of 118 PageID #: 24145
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 64 of 118 PageID #: 24146
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 65 of 118 PageID #: 24147




                    (;+,%,7

       REDACTED IN ITS
          ENTIRETY
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 66 of 118 PageID #: 24148




                   (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 67 of 118 PageID #: 24149
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 68 of 118 PageID #: 24150
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 69 of 118 PageID #: 24151
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 70 of 118 PageID #: 24152
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 71 of 118 PageID #: 24153
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 72 of 118 PageID #: 24154
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 73 of 118 PageID #: 24155
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 74 of 118 PageID #: 24156
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 75 of 118 PageID #: 24157
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 76 of 118 PageID #: 24158
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 77 of 118 PageID #: 24159
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 78 of 118 PageID #: 24160
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 79 of 118 PageID #: 24161
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 80 of 118 PageID #: 24162
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 81 of 118 PageID #: 24163
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 82 of 118 PageID #: 24164
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 83 of 118 PageID #: 24165
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 84 of 118 PageID #: 24166
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 85 of 118 PageID #: 24167
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 86 of 118 PageID #: 24168
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 87 of 118 PageID #: 24169
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 88 of 118 PageID #: 24170
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 89 of 118 PageID #: 24171
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 90 of 118 PageID #: 24172
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 91 of 118 PageID #: 24173
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 92 of 118 PageID #: 24174
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 93 of 118 PageID #: 24175
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 94 of 118 PageID #: 24176
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 95 of 118 PageID #: 24177
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 96 of 118 PageID #: 24178
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 97 of 118 PageID #: 24179
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 98 of 118 PageID #: 24180
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 99 of 118 PageID #: 24181
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 100 of 118 PageID #: 24182




                      (;+,%,7

        REDACTED IN ITS
           ENTIRETY
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 101 of 118 PageID #: 24183




                    (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 102 of 118 PageID #: 24184

     DR. MICHAEL FRENDO                                                                                            May 29, 2020
     SPRINT vs CHARTER                                                                                                      1–4
                                                                Page 1                                                          Page 3
     ·1·   ·IN THE UNITED STATES DISTRICT COURT                          ·1· · · · · · · · · P R O C E E D I N G S
     · ·   ·FOR THE DISTRICT OF DELAWARE
     ·2                                                                  ·2· · · · · · ·MR. REISNER:· Standard order.· We're not
     · ·   ·Case No. 17-CV-1734-RGA
     ·3·   ·_____________________________________________________
                                                                         ·3· ·going to order the video at this point.
     ·4·   ·REMOTE DEPOSITION OF DR. MICHAEL FRENDO                      ·4· · · · · · ·THE COURT REPORTER:· So this is Theresa
     · ·   ·May 29, 2020
     ·5·   ·_____________________________________________________        ·5· ·Mendez.· I'm a shorthand reporter.· And this
     ·6                                                                  ·6· ·deposition is being held via telephone equipment.
     · ·   ·SPRINT COMMUNICATIONS COMPANY, L.P.,
     ·7                                                                  ·7· · · · · · ·The witness and the reporter are not in the
     · ·   ·Plaintiff,
     ·8                                                                  ·8· ·same room.· The witness will be sworn in remotely
     · ·   ·v.                                                           ·9· ·pursuant to agreement of all parties.· The parties
     ·9
     · ·   ·CHARTER COMMUNICATIONS, INC., CHARTER COMMUNICATIONS         10· ·stipulate that the testimony is being given as if the
     10·   ·HOLDINGS, LLC, SPECTRUM MANAGEMENT HOLDING COMPANY,
     · ·   ·LLC, CHARTER COMMUNICATIONS OPERATING, LLC, BRIGHT           11· ·witness was sworn in person.
     11·   ·HOUSE NETWORKS, LLC,                                         12· · · · · · ·Does everyone agree?
     12·   ·Defendants.
     · ·   ·_____________________________________________________        13· · · · · · ·MR. PATTON:· Yes.
     13
     · ·   · · · · · · · · A P P E A R A N C E S
                                                                         14· · · · · · ·MR. REISNER:· Yes.
     14                                                                  15· · · · · · · · · ·DR. MICHAEL FRENDO,
     15·   ·For the Plaintiff:· · THOMAS M. PATTON, ESQ.
     · ·   · · · · · · · · · · · ·Shook, Hardy & Bacon, L.L.P.           16· ·having been first duly sworn, testified on oath as
     16·   · · · · · · · · · · · ·222 Delaware Avenue                    17· ·follows:
     · ·   · · · · · · · · · · · ·Suite 1101
     17·   · · · · · · · · · · · ·Wilmington, DE 19801                   18· · · · · · · · · · · ·EXAMINATION
     · ·   · · · · · · · · · · · ·302-252-0920
     18                                                                  19· ·BY MR. PATTON:
     · ·   ·For the Defendants:·   ·DANIEL REISNER, ESQ.                 20· · · · Q.· ·Thank you.· Hi, Dr. Frendo.· As she said,
     19·   · · · · · · · · · · ·   ·Arnold, Porter, Kaye, Scholer, LLP
     · ·   · · · · · · · · · · ·   ·250 West 55th Street                 21· ·my name is Thomas.· I represent Sprint.· Would you
     20·   · · · · · · · · · · ·   ·New York, NY 10019
     · ·   · · · · · · · · · · ·   ·212-836-8132
                                                                         22· ·please state your name for the record again.
     21                                                                  23· · · · A.· ·Michael Frendo.
     22
     23                                                                  24· · · · Q.· ·Would you please spell your name for the
     24                                                                  25· ·record.
     25
                                                                Page 2                                                        Page 4
     ·1·   · · · · · ·Remote Deposition of DR. MICHAEL FRENDO,           ·1· · · · A.· ·M-I-C-H-A-E-L, F-R-E-N-D-O.
     ·2·   ·the Witness herein, called by the Plaintiff in the
     ·3·   ·above-entitled matter on Friday, May 29, 2020,
                                                                         ·2· · · · Q.· ·Thanks.· Where do you currently live?
     ·4·   ·commencing at the hour of 9:02 a.m., at Boulder,             ·3· · · · A.· ·I currently live in Boulder, Colorado.
     ·5·   ·Colorado, before Theresa L. Mendez, a Registered             ·4· · · · Q.· ·What's your address?
     ·6·   ·Professional Reporter and Notary Public for the State
     ·7·   ·of Colorado, said deposition being taken pursuant to         ·5· · · · A.· ·9044 Jason Court, Boulder, Colorado 80303.
     ·8·   ·Notice and the Colorado Rules of Civil Procedure.            ·6· · · · Q.· ·Have you ever been deposed before?
     ·9·   ·_____________________________________________________        ·7· · · · A.· ·No.
     10·   · · · · · · · · · · · ·I N D E X
     11·   · · · · · · · · · · · · · · · · · · · · · Page Number         ·8· · · · Q.· ·I will start off with a few ground rules.
     12·   ·Examination by Mr. Patton· · · · · · · · · · · · · 3         ·9· ·It's pretty simple.· I'm here to ask you some
     13·   · · · · · · · · · ·E X H I B I T S
                                                                         10· ·questions and you'll be answering those questions.
     14·   ·Exhibit Number· · · · · · · · · · · · · Initial Reference
     15                                                                  11· · · · · · ·Do you understand that?
     · ·   ·Exhibit 1· Notice of Deposition· · · · · · · · · · 6         12· · · · A.· ·Yes.
     16
                                                                         13· · · · Q.· ·If you don't understand my question, just
     · ·   ·Exhibit 2· Expert Report of Dr. Michael Frendo· · 12
     17                                                                  14· ·please let me know and I will try to rephrase it.
     · ·   ·Exhibit 3·   Reply Expert Report of Dr. Michael· · ·14       15· ·Fair?
     18·   · · · · · ·   Frendo
     19·   ·Exhibit 4·   Rebuttal Expert Report of Dr.· · · · · 18
                                                                         16· · · · A.· ·That's fair.
     · ·   · · · · · ·   Michael Frendo                                  17· · · · Q.· ·If you answer a question, I will assume
     20                                                                  18· ·that you understood it.· Okay?
     · ·   ·Exhibit 5· United States Patent US 6,463,052· · · 73
     21
                                                                         19· · · · A.· ·That's fair.
     · ·   ·Exhibit 6· LinkedIn profile· · · · · · · · · · · 135         20· · · · Q.· ·So in other words, unless you tell me
     22                                                                  21· ·otherwise, I'll assume you understood my question.
     · ·   ·Exhibit 7· ComputerWorld document· · · · · · · · 138
     23                                                                  22· ·Okay?
     · ·   ·Exhibit 8· InvoWorld magazine· · · · · · · · · · 181         23· · · · · · ·At certain times today, your attorney may
     24
                                                                         24· ·object to the questions I ask, but you're to answer
     · ·   · · · · · · ·(Exhibits indexed and attached to
     25·   ·original and copy transcripts.)                              25· ·the questions unless your attorney specifically


                                                                                                      800.211.DEPO (3376)
                                                                                                      EsquireSolutions.com               YVer1f
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 103 of 118 PageID #: 24185

     DR. MICHAEL FRENDO                                                                                           May 29, 2020
     SPRINT vs CHARTER                                                                                                241–244
                                                            Page 241                                                          Page 243
     ·1· · · · A.· ·They participate in setting up calls, not          ·1· ·FORE-ASX -- for the record, I'll spell that out.
     ·2· ·connections.                                                 ·2· · · · · · ·What's your basis for saying the FORE,
     ·3· · · · Q.· ·Okay.· What about eMTA?· Do you agree that         ·3· ·F-O-R-E, ASX-100 could not set up calls?
     ·4· ·eMTA participates in setting up calls?                       ·4· · · · A.· ·There's a few things.· First, the ASX was
     ·5· · · · A.· ·No.· They take the information that they           ·5· ·built as a land background product.· So it's really
     ·6· ·have, which is a dialed number and they send it to           ·6· ·built to set up connections between elements on land
     ·7· ·control process somewhere that takes responsibility          ·7· ·for land backup.· That's the first issue.
     ·8· ·for setting up the calls.                                    ·8· · · · · · ·The second issue is the signaling set of
     ·9· · · · · · ·They're done that way.· Whatever they came         ·9· ·the calls has to come from the connections, the
     10· ·in, they say, Hey, can you figure this out for me            10· ·workstations.· The only way to connect to an ASX was
     11· ·because I have no idea what to do with it.                   11· ·through a workstation interface which was also
     12· · · · Q.· ·And you wouldn't consider in sending it to         12· ·provided by FORE.· That's the second piece.· In and
     13· ·the control processor somewhere participating in             13· ·of itself was proprietary.· Doesn't mean it didn't
     14· ·setting up the call?                                         14· ·set up access, but it was proprietary, so therefore
     15· · · · A.· ·No, because it's not sending it to the             15· ·not widely applicable for themselves.· It's just
     16· ·control processor somewhere.· What you're doing is           16· ·that.
     17· ·you're looking at the table -- at the configuration          17· · · · · · ·And then the next piece is, it has no
     18· ·of the eMTA, and it says, send it to this address.           18· ·voice -- it has no voice adaptation capability at
     19· ·That's all you do.                                           19· ·all.· The initial product had support for AL-3, 4 and
     20· · · · · · ·You have no idea.· It's a very simple              20· ·5, no support for AL-1 or 2, which both were required
     21· ·process.· You gather the digits, form a message, send        21· ·for voice capability.
     22· ·it to this address.                                          22· · · · · · ·So -- and if you look at the construction
     23· · · · · · ·It doesn't go look for some other address.         23· ·of the actual example, again which is in Figure 3,
     24· ·It just has one.· And if the first one fails, then we        24· ·right.· The way Figure 3 is set up, you would have to
     25· ·have a backup one.· They're two fixed addresses.             25· ·put a MUX in front of the switch, which is the

                                                         Page 242                                                             Page 244
     ·1· · · · · · ·There's no routing involved.· It's all             ·1· ·SX-100.· Because -- and the MUX would have to do the
     ·2· ·about the IP network.· There's no intelligence really        ·2· ·signaling to the SX-100 to set up the connection.
     ·3· ·involved.· It's simply a passing of the information          ·3· · · · · · ·And nothing in the actual disclosure and
     ·4· ·to a higher entity, the control processor to make            ·4· ·nothing in the invention creates a connection between
     ·5· ·that decision.                                               ·5· ·the call control processor and the MUX.· That
     ·6· · · · Q.· ·Would you agree that eMTAs and media               ·6· ·connection doesn't exist.
     ·7· ·gateways, at least, assist in selecting the routing          ·7· · · · · · ·It would not be appropriate.· For it to
     ·8· ·code?                                                        ·8· ·work, you would have to redesign the entire system.
     ·9· · · · A.· ·No.· Neither one of them does.                     ·9· ·But for all those reasons, it doesn't solve this
     10· · · · Q.· ·So looking further in your report, is it           10· ·problem.
     11· ·fair to say that a lot of your criticisms of                 11· · · · · · ·MR. REISNER:· Theresa, do you happen to
     12· ·Dr. Wicker's rebuttal, is that a lot of these                12· ·know how much time we've been on the clock?
     13· ·standards were not final complete standards as of            13· · · · · · ·(Conversation off the record.)
     14· ·May 1994?                                                    14· · · · · · ·MR. REISNER:· I understand this deposition
     15· · · · A.· ·I believe some of them were relevant.              15· ·should in no way have taken seven hours in the first
     16· · · · Q.· ·Okay.· Breaking those apart.· You would            16· ·place, so why don't you get on with it.
     17· ·agree that a standard doesn't have to be final and           17· · · · · · ·MR. PATTON:· Okay.
     18· ·complete for it to be useful to a person of skill in         18· · · · Q.· ·(BY MR. PATTON)· You agree that these two
     19· ·the art, fair?                                               19· ·reports, which are Exhibit 2 and Exhibit 3, contain
     20· · · · A.· ·I agree.                                           20· ·your full opinions regarding the topics with which
     21· · · · Q.· ·And like we just discussed, standards do           21· ·you've been asked to offer opinions in this case?
     22· ·lag behind the marketplace in what a person can              22· · · · A.· ·Yes.
     23· ·actually do?                                                 23· · · · Q.· ·May I quickly direct your attention to
     24· · · · A.· ·I agree.                                           24· ·page 11 of your reply of that same Exhibit 3.
     25· · · · Q.· ·What's your basis for saying that the              25· ·Page 11, paragraph 32 of your reply, which is


                                                                                                     800.211.DEPO (3376)
                                                                                                     EsquireSolutions.com                YVer1f
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 104 of 118 PageID #: 24186

     DR. MICHAEL FRENDO                                                                                           May 29, 2020
     SPRINT vs CHARTER                                                                                                245–248
                                                            Page 245                                                       Page 247
     ·1· ·Exhibit 30.                                                  ·1· · · · Q.· ·And you say that, as of 2002, a person of
     ·2· · · · A.· ·I'm there.· Yep.                                   ·2· ·skill in the art would have been readily able to make
     ·3· · · · Q.· ·So the title of this section is:· Ease of          ·3· ·various hardware and software modifications; is that
     ·4· ·Modifying Functions of an eMTA media gateway                 ·4· ·fair?
     ·5· ·Controller, and media gateway.                               ·5· · · · A.· ·No.· I specifically said software
     ·6· · · · · · ·Did I read that correctly?                         ·6· ·modifications.
     ·7· · · · A.· ·Yes, you did.                                      ·7· · · · Q.· ·Software modifications would need to be
     ·8· · · · Q.· ·Is this portion of your report responsive          ·8· ·made?
     ·9· ·to Dr. Wicker's invalidity rebuttal report?                  ·9· · · · A.· ·I don't believe any hardware modifications
     10· · · · A.· ·No.· This was in response to -- request of         10· ·would need to be made.
     11· ·what it would take to modify, you know, described to         11· · · · Q.· ·And that's based on your own opinion, not
     12· ·me by legal team by Almeroth.· What would it take --         12· ·based on any documents or supporting --
     13· ·my opinions of what would it take to modify things in        13· · · · A.· ·Again, it's based on experience.
     14· ·these ways.                                                  14· · · · Q.· ·Okay.· If you can pull out Exhibit 4 to
     15· · · · Q.· ·So this is not responsive to anything in           15· ·your deposition, which is 424, 2020 rebuttal report.
     16· ·Dr. Wicker's invalidity rebuttal report, as you              16· · · · A.· ·Yep.· I have it.
     17· ·understand?                                                  17· · · · Q.· ·Do you have Exhibit 4?
     18· · · · A.· ·I don't know.· Maybe -- again, what I was          18· · · · A.· ·Yes.
     19· ·asked directly by counsel and by Dr. Almeroth, if            19· · · · Q.· ·What is Exhibit 4?
     20· ·these things were possible, and if so, how much              20· · · · A.· ·Exhibit 4 is a rebuttal expert report, if I
     21· ·effort would they get.                                       21· ·could find -- rebuttal to the rebuttal.
     22· · · · Q.· ·Did you consider Dr. Wicker's infringement         22· · · · Q.· ·Okay.· And, again, this report reflects
     23· ·report?                                                      23· ·your opinions regarding certain modifications that
     24· · · · A.· ·No.· Again, it may have been considered by         24· ·you believe -- strike that.
     25· ·counsel, it was not considered by me.· I was                 25· · · · · · ·This report reflects your opinions

                                                             Page 246                                                         Page 248
     ·1· ·informing, again, a fairly well-defined request from        ·1· ·regarding the difficulty or ease with which certain
     ·2· ·the doctor.                                                 ·2· ·modifications could have been to a voicemail system;
     ·3· · · · Q.· ·And this portion of your report deals with        ·3· ·is that fair?
     ·4· ·the 2002 to 2016 time frame; is that fair?                  ·4· · · · A.· ·Not fair.· It's modifications to a system
     ·5· · · · A.· ·That's my understanding, yes.               ·5· ·that sends the call to voicemail, not the voicemail
     ·6· · · · Q.· ·Is there anything in your opening report    ·6· ·system itself.· Okay.
     ·7· ·about the 2002 to 2016 time frame?                    ·7· · · · · · ·MR. REISNER:· Thomas, I'm just going to
     ·8· · · · A.· ·No.                                         ·8· ·give you a warning.· You've got to complete this in
     ·9· · · · Q.· ·Do you know whether there was anything in   ·9· ·five minutes or I'm going to ask Theresa to compute
     10· ·Dr. Wicker's rebuttal report directly related to the  10· ·the time.
     11· ·2002 to 2016 time frame?                              11· · · · · · ·MR. PATTON:· Okay.
     12· · · · A.· ·I would say, if it was referring to         12· · · · Q.· ·(BY MR. PATTON)· Could you turn to page 1
     13· ·Dr. Almeroth, I probably didn't read it.· So it could 13· ·of your report in paragraph 4?
     14· ·have been there.· But if it was referring to the      14· · · · A.· ·Yep.
     15· ·things I have said, then I read that portion.         15· · · · Q.· ·It says that you reviewed all of these
     16· · · · Q.· ·And so my understanding --                  16· ·documents in Exhibit A to the deposition, three
     17· · · · A.· ·I don't know -- and the portion I read, no. 17· ·different documents.
     18· · · · Q.· ·Just to clean that up.· In the portion you  18· · · · · · ·Did you review all these?
     19· ·read, where Dr. Wicker was responding to your opening 19· · · · A.· ·These notes -- some documents I may object,
     20· ·opinion, your opening report, there's nothing about   20· ·the 850.· There are thousands.· I wouldn't say I read
     21· ·the 2002 to 2016 time frame, correct?                 21· ·them deeply.
     22· · · · A.· ·I don't believe so.                         22· · · · Q.· ·Okay.· You didn't review Dr. Wicker's
     23· · · · Q.· ·Okay.· So this is a completely separate     23· ·opening infringement report; is that fair?
     24· ·opinion from your opening report?                     24· · · · A.· ·That is correct.
     25· · · · A.· ·That's fair to say.                         25· · · · Q.· ·Okay.


                                                                                                     800.211.DEPO (3376)
                                                                                                     EsquireSolutions.com                YVer1f
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 105 of 118 PageID #: 24187




           (;+,%,7S-39

       REDACTED IN
      THEIR ENTIRETY
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 106 of 118 PageID #: 24188




                    (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 107 of 118 PageID #: 24189
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 108 of 118 PageID #: 24190
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 109 of 118 PageID #: 24191
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 110 of 118 PageID #: 24192
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 111 of 118 PageID #: 24193
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 112 of 118 PageID #: 24194




                    (;+,%,7
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 113 of 118 PageID #: 24195
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 114 of 118 PageID #: 24196
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 115 of 118 PageID #: 24197
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 116 of 118 PageID #: 24198
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 117 of 118 PageID #: 24199
Case 1:17-cv-01734-RGA Document 520 Filed 07/10/20 Page 118 of 118 PageID #: 24200




           (;+,%,7S - 48

         REDACTED IN
        THEIR ENTIRETY
